  June 14, 2017

  Via facsimile only
  (920) 437-2868

  George Burnett, Esq.
  Jodi Arndt Labs, Esq.
  Conway, Olejniczak & Jerry S.C.
  231 South Adams Street
  P.O. Box 23200
  Green Bay, WI 54305-3200

          Re:     Fast v. Cash Depot, LTD.

  Dear Counsel:

  On May 12, 2017, we served Plaintiff’s First Set of Interrogatories and Requests for Production of
  Documents upon you and your client, Cash Depot, LTD. Cash Depot’s responses were due on Monday,
  June 12, 2017. To date, we have not received Cash Depot’s discovery responses and/or any other
  correspondence from you regarding this matter. In order for us to prosecute this matter adequately and
  efficiently on behalf of Mr. Fast and the other potential class members, we must have Cash Depot’s
  responses this week and no later than June 16, 2017.

  Please call me directly if you have any questions regarding Plaintiff’s discovery requests.

  Thank you.


  Sincerely,
  WALCHESKE & LUZI, LLC

  s/ Kelly L. Temeyer

  Kelly L. Temeyer
  Attorney at Law
  ktemeyer@walcheskeluzi.com




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